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Re: Reiyn Keohane, Case No. 4:16-cv-511-MW-CAS

Rebuttal to Defense Expert Report of Dr. Levine

I have been asked to provide a focused rebuttal report in response to the
report submitted by Dr. Levine on 6 January 2017.

Before addressing specific issues, I would like to first comment on the first
8 pages of his report, which seem to be mostly a transcription of what
Reiyn Keohane (RK) is reported to have said to him during his interview,
coupled with information that he gleaned from the limited set of records he
stated he reviewed. From his documentation, it is unclear if he reviewed the
same quantity of records I had access to. Nonetheless, I generally agree
with the factual information he reports from his interview, i.e. that RK was
consistent in her reporting of events to him and to me. I do not see any
inconsistencies in the history that she reported to him and to me. I do,
however, disagree with three components of his interpretation of her
presentation. He stated in his abbreviated mental status exam that she
presented “without feminine mannerisms” and “without a range of affective
intensity.” RK clearly presents with feminine mannerisms, most notable in
the use of her long hands/wrists during speaking, and in the lilt of her head
when speaking. Her gait is decidedly feminine as well, based on norms in
our society (it is unclear if Dr. Levine examined her gait). Likewise, RK
displayed affective range not only in my interview but apparently in the
interview with Dr. Levine, who quotes her using exclamation marks on
more than one occasion (see page 3, page 4, for example). Finally, Dr.
Levine reported that RK presented to him as socially phobic, which is
definitely not consistent with her presentation during my examination.

Dr. Levine appears to believe it is either difficult, inappropriate or otherwise
inconsistent to use female pronouns for a person with a longstanding
transgender identity, female name change, and female breasts. He calls
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this the “Pronoun Problem” and uses terms such as “obvious retrospective
falsification” and apologizes in advance if his “concerted effort to refer to
the inmate with female pronouns” is unsuccessful. He was quite
unsuccessful in these concerted efforts, as he manages to mispronoun RK
on at least 7 occasions, sometimes even mixing both male and female
pronouns in the same sentence (see page 6, paragraph 4). I make a point
of this because anyone who works extensively with transgender people
should be well aware of the importance of consistent pronoun use and the
psychological pain and disrespect that most transgender people report
experiencing when preferred pronouns are not utilized. His statements
appear to disregard this well-known clinical reality, and I take exception to
his characterization of pronouns as either a “problem” or something to be
callously disregarded when interacting with patients, be they cis-gender
(someone whose gender identity is the same as their sex of assignment at
birth) or transgender.

Dr. Levine, throughout his idiosyncratic expert report, does not make it
clear whether or not:

   1. He agrees with the diagnosis of Gender Dysphoria for RK.
   2. He believes RK has any psychiatric diagnoses (he does not include a
      diagnostic assessment, which is quite peculiar for an expert report).
   3. He thinks transgender identity exists at all, or in the case of RK
      specifically.
   4. He believes “medical necessity,” a well-accepted term, applies to the
      treatment of Gender Dysphoria or any psychiatric disorders.
   5. He feels it is appropriate for RK to be receiving cross-sex hormones
      (CSH).
   6. He is an expert in security matters in the prison setting.

I will address each of these issues, as they are important in the overall
conclusion that Dr. Levine makes, which is that he agrees with my opinion
that RK should be permitted to grow her hair beyond what is permitted for
male inmates and have access to female undergarments, but he disagrees
that these things are “medically necessary.” He is entirely silent on the
issue of CSH, which is not the focus of his report, and in any event has
already been provided to RK for many months subsequent to the initiation
of litigation on this issue.



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1. Dr. Levine does not provide a diagnostic assessment in his report, which
is quite odd for a psychiatric report in modern times. He does not
specifically state that RK has Gender Dysphoria as a diagnosis, although
he allows “The fact that Reiyn is on hormones means that others have
diagnosed the inmate as having met the DSM-5 criteria.” Clearly, RK has a
diagnosis of Gender Dysphoria, which is long-standing. This is recognized
in numerous assessments by FDOC clinicians and two professionals
outside the FDOC prior to incarceration. It puzzles me why Dr. Levine
attributes the formal diagnosis to others and fails to offer his own opinion as
to this diagnosis.

2. As noted above, Dr. Levine does not provide an expert report with a
diagnostic assessment, so it is unclear if he believes RK has any
psychiatric diagnoses. He does discuss what she does not have, on page
10 (“not mentally ill in terms of evidence of psychosis, bipolar disorder, or
autism…”), and comments on her character (by which I assume he means
“personality” in more modern parlance) on page 10 as well, but at the end
of this report, the reader is left wanting in regard to his opinion as to
whether RK has any psychiatric diagnosis meritorious of treatment
considerations.

3. Possibly a corollary to 1 above is the question as to whether Dr. Levine
is questioning the existence of transgender identity in general, or in the
case of RK specifically. For example, on page 10, he describes RK as
having a “stubborn persistence with the trans identity” as though having a
transgender identity is akin to having a juvenile fascination with becoming a
fireman. All people have a gender identity of one type or another, and it is
somewhat nonsensical to describe a person as being stubborn or
persistent in having their own identity. If a cis-gender man were to be
challenged or questioned about his masculine gender identity, it is my
experience that the response would be at least as persistent, consistent,
and forceful. RK clearly has a consolidated transgender identity, as a
transgender woman, and that has been the case for many years. It is not
unusual for persons with Gender Dysphoria to have a consolidated,
persistent gender identity that is different from their sex of assignment at
birth, as is the case for RK.

Dr. Levine further describes RK as having “a fixed belief that she is a
woman,” which in psychiatric parlance is tantamount to labeling a patient as
delusional. The concept of Gender Dysphoria representing a subtype of
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delusions fell from professional favor at least 30 years ago in recognition of
the fact that persons with Gender Dysphoria are not delusional or psychotic
in their understanding of their identities as fundamentally not matching their
sex of assignment at birth.

4. Dr. Levine appears to coin a new term, not found anywhere in the
medical literature, as a substitution for the well-accepted and commonly
used term “medical necessity.” He substitutes “psychologically helpful or
psychologically pleasing to the inmate.” Using this new jargon, he agrees
with my summary opinions. Nonetheless, I would take issue with his
dismissiveness regarding the medical necessity of female grooming
standards and access to female undergarments.

Dr. Levine appears to be suggesting that the term “medical necessity” does
not apply to treatment for psychiatric conditions. On page 11, he states
“Gender Dysphoria is a psychiatric condition. Using the term medical
necessity puts experts into an uncomfortable position”; and “[t]he
employment of the term medical necessity is useful for diseases such as:
prostate cancer, asthma, and fractured tibias.” There is no basis for
carving out the treatment of psychiatric diagnoses such as schizophrenia,
bipolar disorder, major depression, and gender dysphoria from the meaning
of medical necessity under his definition of the term or any standard
definition of the term. For example on Medicare.gov, the US government
defines “medically necessary” as “health-care services or supplies needed
to prevent, diagnose, or treat an illness, injury, condition, disease, or its
symptoms and that meet accepted standards of medicine.” Medicare,
Medicaid, TriCare and other government-funded health care services as
well as private insurers include treatment for numerous psychiatric
disorders within their coverage based on medical necessity. Indeed, the
Federal Bureau of Prisons provides transition-related care for gender
dysphoric inmates based on medical necessity (see Transgender Offender
Manual, U.S. Department of Justice, Federal Bureau of Prisons, Program
Statement Number 5200.04; Patient Care, U.S. Department of Justice,
Federal Bureau of Prisons, Program Statement Number 6031.04).

It is possible that Dr. Levine did not mean to say treatment of no psychiatric
disorder can be medically necessary, but rather, that treatment of Gender
Dysphoria specifically cannot be medically necessary. On p. 11, he says:
“The employment of the term medical necessity . . . is . . . confusing for
this culturally young, complex psychological state of suffering calling
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Gender Dysphoria.” There is no basis for such an exception. Gender
Dysphoria is a well-established diagnosis with established protocols for
individualized treatments which, if not provided, can result in serious harm
to the patient.

Dr. Levine contends that hair length “is not a medical issue. Nor is wearing
women’s underwear”(p. 11). His use of cancer as an example where
medical necessity applies is particularly instructive to refute this assertion.
Women with breast cancer, for example, have been treated with breast
prostheses, special undergarments (mastectomy bras and camis), and
wigs or hair prostheses for years as medically necessary treatments
associated with the breast cancer diagnosis. Post-mastectomy care has
been federally approved since 1998. While Dr. Levine argues “there is
nothing medically necessary about hair length” many women experience
psychological harm due to self-esteem, dignity, and identity issues
associated with hair loss resulting from treatment. Patients with Gender
Dysphoria grapple with important issues of self-esteem, dignity, and identity
as well. For many patients with treatment-induced alopecia (hair loss) and
for many patients with Gender Dysphoria, the presence of hair and its
length may, in fact, be medically necessary. TriCare, another government
insurance program, pays the full cost of a wig for any patient with hair loss
due to treatment for any malignancy, not limited to breast cancer.

While I can agree with Dr. Levine insofar as allowing RK to grow her hair
beyond what is permitted for male inmates and providing female
undergarments is “compassionate” and “psychologically helpful” for RK,
and that she would be “vulnerable to acute decompensation” if denied
access to female undergarments and grooming standards (page 10), I
strongly disagree with him in his assertion that they are not medically
necessary for this inmate.

5. Dr. Levine does not comment upon whether CSH treatment is either
medically necessary or psychologically helpful for RK now, or in the past
when such access was inappropriately denied and delayed by two years.
Perhaps he was not asked to opine on this important matter. I will not
similarly refrain: CSH is a medically necessary treatment for RK now and
into the foreseeable future.

6. Dr. Levine has much to say regarding his professional opinions on prison
security and safety concerns. He informs us that “Prison officials have the
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responsibility to ensure the safety of inmates.” While this statement is far
from controversial, he makes numerous references in his report, including
in his recommendations, to safety and security concerns. For example, on
pages 9 and 11, he discusses the risk of rape as her body feminizes1 and
whether another inmate can keep her safe. These relate to security issues,
not medical issues. In reviewing his CV, I was unable to see any evidence
for training or credentials that would render him an expert on such matters.
I certainly do not fancy myself to be an expert in such issues even though I
have significant experience evaluating prisoners with Gender Dysphoria
and have worked as a psychiatrist in two prisons.

Finally, it is unclear to me why Dr. Levine discussed his perceived
outcomes of some Gender Dysphoria treatments, to include sex
reassignment surgery (a treatment that is not a subject of the current
litigation), with RK in his interview, with the implication in his reporting of
this conversation that treatments for Gender Dysphoria are commonly
associated with negative outcomes. He lists “feeling inauthentic in either
role in the future; post SRS suicide, depression; vocational disability;
difficulty finding a lasting love relationship” as among those, with no
apparent discussion of the known positive psychological and social
outcomes associated with individualized treatments for properly diagnosed
persons with Gender Dysphoria, following established standards of care, or
the well-documented serious harm when such treatment is denied. There
is no evidence that such adverse outcomes resulting from treatment for
Gender Dysphoria are comment. It is rare, indeed, for patients who have
been diagnosed and treated by experienced clinicians to suffer "post SRS
suicide," for example, and it is more likely that gender dysphoric patients
who are appropriate for SRS and denied access to this treatment will have
a negative outcome, to include autocastration, depression, and possible
suicide. I have never had a patient that I evaluated and/or treated over the
past three decades obtain SRS and voice regrets about that decision, let
alone try to harm themselves after having had SRS. While it is the case
that patients who transition (to include name change, initiation of CSH,
social/public transition to another gender role and appearance)
occasionally decide to "reverse" their transition (hence the requirements in
the WPATH SOC for a minimum of one year of living in the congruent

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  It is not clear why he is raising this issue since RK is already on hormones that are
feminizing her body and my understanding is that the defendants are not contending
that such treatment should cease.
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gender role, full time, prior to obtaining referrals for SRS), this is an
uncommon occurrence for those who transition in adolescence
(postpubertally) or later and exhibit persistent, and consistent, transgender
identification. RK has already experienced challenges associated with
social transition and in spite of the bullying and rejections before
incarceration and the major difficulties she has experienced expressing her
transgender identity openly in the prison setting, she is steadfast in her
determination to live her felt gender as her authentic self. It is highly
unlikely, in my view, that at this point she will "change her mind" about her
gender identity and suddenly decide to embrace boxer shorts, short hair,
and the other accoutrements of the male gender identity and role. Denial of
access to medically necessary treatments for RK's well-diagnosed Gender
Dysphoria is much more likely to result in serious, negative medical and
mental health outcomes than providing the requested treatments.

In summary, Dr. Levine fundamentally agrees with my opinion that RK be
permitted to grow her hair beyond the standard for male inmates and to
access female undergarments approved for any other female inmate in the
FDOC. In reaching those same conclusions, he utilizes a line of reasoning
with which I disagree.




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